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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION
                                CASE NO.: 22-CV-80726-DMM


  ARTHUR BARRY SOTLOFF Individually and as the
  Administrator of the Estate of STEVEN JOEL SOTLOFF;
  SHIRLEY GOLDIE PULWER, and LAUREN
  SOTLOFF,
        Plaintiffs,
  v.
  QATAR CHARITY, a Foreign Non-Profit Organization
  and QATAR NATIONAL BANK (Q.P.S.C), a Foreign
  Multinational Commercial Bank
         Defendants.
                                     /
                        PLAINTIFFS’ MOTION FOR JUDICIAL NOTICE

          Plaintiffs, ARTHUR BARRY SOTLOFF Individually and as the Administrator of the

  Estate of STEVEN JOEL SOTLOFF, SHIRLEY GOLDIE PULWER, and LAUREN SOTLOFF,

  by and through undersigned counsel, and pursuant to Fed. R. Civ. P. 201, request this Court take

  judicial notice of facts, as authorized by Rule 201, and in support state as follows:

  1. Plaintiff are suing Defendants for having caused violent acts of terrorism against their son,

       Steven Sotloff, under 18 U.S.C. §§ 2333(d), 2339A and 2339B and the Justice Against

       Sponsors of Terrorism Act (“JASTA”) § 2b. Complaint [DOC1] at ¶¶ 237, 249, 251, 261, 264,

       278, 280, and 290.

  2. By way of Plaintiffs’ Ex Parte Motion [DE 9], Plaintiffs are requesting the Court to issue an

       order authorizing alternative service of process on the Defendants.

  3. Plaintiffs’ Ex Parte Motion explains that Defendants are currently defending three separate

       suits, where, as in this matter, the plaintiffs in those three cases allege Defendants engaged in
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     acts of terror finance in violation of the Anti Terrorism Act (“ATA”), 18 U.S.C. § 2331 et seq.

     The three case (the “EDNY actions”) are captioned as follows:

         a. Force v. Qatar Charity, No. 20-cv-2578-BMC (EDNY)

         b. Przewozman v. Qatar Charity, No. 20-cv-6088-NGG-RLM (EDNY)

         c. Henkin v. Qatar Charity, No. No. 21-cv-5716-AMD-VMS (EDNY)

             [Id. at ¶¶ 11 and 12]

  4. Plaintiffs’ Ex Parte Motion asserts that in all three of the aforementioned EDNY actions, that

     DLA Piper LLP US attorneys John M. Hillebrecht (john.hillebrecht@dlapiper.com), Jessica

     A. Masella (jessica.masella@dlapiper.com), Kevin Walsh (kevin.walsh@dlapiper.com), and

     Michael George Lewis (michael.lewis@dlapiper.com) entered an appearance on behalf of

     Qatar Charity. [Id. at ¶ 13]

  5. Plaintiffs’ Ex Parte Motion also asserts that in all three of the aforementioned EDNY actions,

     Ropes and Gray attorneys Michael G. McGovern (michael.mcgovern@ropesgray.com),

     Brittany Grace Norfleeet (brittany.norfleet@ropesgray.com), Douglass H Hallward-Driemeier

     (douglas.hallward-driemeier@ropesgray.com), and Mary Brust (mary.brust@ropesgray.com)

     entered an appearance on behalf of Qatar Charity. [Id. at ¶ 14]

  6. Plaintiffs request the Court take judicial notice of the docket reports for each of the three EDNY

     cases referenced above, which reports establish that the aforementioned attorneys have

     appeared as counsel of record and are actively representing the respective Defendants in

     defense of the claims asserted against these same Defendants in the EDNY cases. See attached

     Docket Report for case no. 20-cv-2578-BMC (EDNY), case no. 20-cv-6088-NGG-RLM

     (EDNY) and case no. No. 21-cv-5716-AMD-VMS (EDNY).
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  7. A court has the authority to take judicial notice of adjudicative facts. The court can take judicial

       notice of facts that are not subject to reasonable dispute if the facts either (1) are generally

       known within the court's territorial jurisdiction or (2) can be accurately and readily determined

       from sources whose accuracy cannot reasonably be questioned. Fed. R. Evid. 201(b); Ritter v.

       Hughes Aircraft Co., 58 F.3d 454, 458 (9th Cir. 1995); see Dippin' Dots, Inc. v. Frosty Bites

       Distrib., 369 F.3d 1197, 1204–05 (11th Cir. 2004). See also “Adjudicative facts,” O'Connor's

       Federal Rules Civil Trials, ch. 5-N, § 2.1 (2022 ed.).

  8. A court must take judicial notice of a fact if a party properly requests it and supplies the court

       with the necessary information. Fed. R. Evid. 201(c)(2). See “Mandatory,” O'Connor's Federal

       Rules Civil Trials, ch. 5-N, § 7.1.1(1) (2022 ed.).

                                                 Conclusion
  9. The attached docket reports are a source that cannot reasonably be called into question. The

       docket reports establish beyond dispute that these Defendants are represented in pending

       litigation so that if the Court were to authorize alternative service of process via email to the

       above-named attorneys, such service would be reasonably calculated, under all the

       circumstances, to apprise the Defendants of the pendency of the action and afford Defendants

       an opportunity to present their defenses and also would afford a reasonable time for the

       Defendants to make their appearance.

          WHEREFORE, Plaintiffs, ARTHUR BARRY SOTLOFF Individually and as the

  Administrator of the Estate of STEVEN JOEL SOTLOFF, SHIRLEY GOLDIE PULWER, and

  LAUREN SOTLOFF, request the Court take judicial notice of the fact, for purposes of Plaintiffs’

  Ex    Parte    Motion,    that   DLA      Piper   LLP      US   attorneys    John    M.    Hillebrecht

  P(john.hillebrecht@dlapiper.com), Jessica A. Masella (jessica.masella@dlapiper.com), Kevin

  Walsh (kevin.walsh@dlapiper.com), and Michael George Lewis (michael.lewis@dlapiper.com)
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  are currently and actively defending Qatar Charity three EDNY lawsuits and that Ropes and Gray

  attorneys Michael G. McGovern (michael.mcgovern@ropesgray.com), Brittany Grace Norfleeet

  (brittany.norfleet@ropesgray.com),   Douglass   H    Hallward-Driemeier    (douglas.hallward-

  driemeier@ropesgray.com), and Mary Brust (mary.brust@ropesgray.com) are currently and

  actively defending Qatar Charity in the same three EDNY cases.

                                            Respectfully submitted,


                                             By:_/s/George A. Minski, Esq.
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